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                     EXHIBIT 1
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13   UNITED STATES OF AMERICA

14                            UNITED STATES DISTRICT COURT

15                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

16   UNITED STATES OF AMERICA,                No. CR 24-CR-00103-MWF

17              Plaintiff,                    DECLARATION OF IRS SPECIAL AGENT
                                              JEREMIAH HAYNIE IN SUPPORT OF
18                   v.                       GOVERNMENT’S OPPOSITION TO
                                              DEFENDANT’S MOTION TO DISMISS
19   ROGER KEITH VER,

20              Defendant.

21

22        I, Jeremiah Haynie, pursuant to 18 U.S.C. § 1746, declare as
23   follows:
24        1.    I am over the age of 18 and competent as to the matters set
25    forth in this declaration.
26        2.    I am employed as a Special Agent with the Internal Revenue
27    Service, Criminal Investigation (“IRS-CI”). I have been a Special
28    Agent with IRS-CI, working on financial and tax-related
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 1   investigations, for approximately twenty-three years. I am currently

 2   assigned to the Washington, D.C. Field Office’s Cybercrimes Unit,

 3   which specializes in investigations of financial and tax crimes

 4   involving the use of the internet, including the use of

 5   cryptocurrencies.

 6        3.   I am the lead IRS-CI Special Agent assigned to the criminal

 7   investigation of Roger Keith Ver.

 8        4.   Ver is a well-known investor in and promoter of

 9   cryptocurrency. Through this investigation, I am familiar with Ver’s

10   appearance and voice.

11        5.   Ver was arrested in Barcelona, Spain, on April 26, 2024, at

12   the request of the United States government. Since then, Ver has

13   resisted extradition to the United States from Spain. On or about

14   October 29, 2024, a Spanish court granted the United States’

15   extradition request; Ver then appealed that decision, which remains

16   pending. Ver is currently not detained in Spain.

17        6.   During the investigation, I obtained and reviewed a video

18   posted on YouTube on or about February 13, 2017, on a channel named

19   “Anarchapulco,” titled “Roger Ver at Anarchapulco 2016.” (“The

20   video”). According to its website, Anarchapulco 2016 occurred in

21   February 2016. The video is available at

22   https://www.youtube.com/watch?v=rGC7EeR-rAw and was last accessed on

23   January 10, 2025. Based on a review of its website, I know that

24   Anarchapulco is an annual “anarcho-capitalist” convention held in

25   Acapulco, Mexico. The video shows Ver giving a speech at the

26   convention and stating:

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 1             Bitcoin completely undermines the power of every
               single government...to tax people’s income, to
 2             control them in any way....
               Bitcoin [] makes it so incredibly easy for people
 3
               to hide their income or evade taxes...
 4
          (The video at 1:18-1:56). The video also shows Ver recounting
 5
     how multiple people contacted him asking for advice about how to use
 6
     bitcoin to evade their taxes, including one “panicked” friend who
 7
     told Ver “I need you to show me how to hide my bitcoin so that I
 8
     don’t have to pay taxes on it.” (The video at 2:06-3:34).
 9
          7.   During the investigation, I obtained and reviewed evidence
10
     indicating that Ver has substantial financial resources. Among other
11
     things, this evidence includes a letter dated November 10, 2023,
12
     from a representative of Ver indicating that Ver’s net worth is
13
     greater than $1 billion.
14
          8.   After he was arrested in Barcelona, Spain, in April 2024,
15
     Ver purchased a nearly $70 million, oceanworthy yacht in Spain.
16
          9.   As part of this investigation, I reviewed Ver’s individual
17
     income tax returns, which he signed under penalties of perjury, for
18
     multiple years. Per information on those returns, prior to December
19
     2017, Ver frequently traveled to the United States. On average, for
20
     the years 2012 through 2017, Ver spent 55 days in the United States
21
     annually. In or about December 2017, Ver learned of the
22
     investigation when the government served several subpoenas,
23
     including a subpoena to the law firm that prepared Ver’s
24
     expatriation-related tax returns. Since learning of the
25
     investigation, Ver has not traveled to the United States.
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